
Jackson, Chief Justice.
1. On the trial for an assault with intent to murder, the court need not charge the jury on the law of stabbing unless requested. It is enough that the law of assault with intent to murder be fully given to the jury, and the law in respect to assault and battery — the actual stabbing having been inflicted by another.
2. One who is present, aiding and abetting'the stabbing by another, having herself attempted to stab with another-knife, and having furnished the knife with which the stabbing was actually done, and having said to the actual perpetrator of the crime, “ Martha, come shell that G-d c-n nigger and get clear of her ”; “ get your satisfaction,” is a principal in the second degree; evidence to the effect *572above stated will support a verdict of guilty ; and when the presiding judge approves it, this court will not interfere.
Judgment affirmed.
